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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS

Tanika Beaulieu,                                   )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )    No. 17 C 5672
                                                   )
NewQuest Management of Illinois, LLC,              )   Judge Rebecca R. Pallmeyer
                                                   )
                                                   )
                       Defendant.                  )

                                               ORDER

        Plaintiff’s motion to compel [47] is granted in part and denied in part.

                                            STATEMENT

       Discovery conference convened. Plaintiff’s motion to compel [47] is granted by
agreement in part and denied in part. The parties had a lengthy conference concerning Plaintiff’s
discovery requests before her motion was filed, and reached agreement to narrow several of her
requests. As narrowed, Defendant has agreed to comply with them.

        As part of her requests, Plaintiff seeks contact information for persons with knowledge of
her claims; she will furnish Defendant with a list of those individuals; Defendant will notify Plaintiff
that she can contact current employees through Defendant’s counsel, and will provide last known
address and phone numbers for those persons no longer employed by Defendant.

       With respect to Request to Admit No. 14, Defendant will admit or deny this assertion:
Employees were prohibited from making complaints to Human Resources without first voicing
those complaints to their supervisors.

      With respect to Request to Admit No. 19, Defendant will admit or deny this assertion:
Customer Service Representatives were always free to communicate with a supervisor, so that
no CSR need ever “fail” a call.

        With respect to Request to Admit Nos. 15 and 16, Defendant will admit or deny these two
assertions: In 2015, there were two queues for calls—one queue for “provider” calls and another
cue for “member” calls. Provider calls were, on average, more time-consuming than member
calls.

         With respect to Request to Admit No. 24, Defendant will admit or deny this assertion:
Plaintiff was the only African-American Customer Service Representative employed by
Defendant as of late 2015.

      Plaintiff is reminded that she has no obligation to produce documents that are not in her
possession or control.

        The parties agree that Plaintiff’s deposition will be taken on Tuesday, August 21 or
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Tuesday, August 28, 2018.

                                      ENTER:




Dated: August 8, 2018                 _________________________________________
                                      REBECCA R. PALLMEYER
                                      United States District Judge
